Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 1 of 10




                   EXHIBIT 64
           Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 2 of 10

                                                                                                     AIR INDIA

                          MANAGEMENT DISCUSSION & ANALYSIS REPORT

1.   ANALYSIS OF THE FINANCIAL/PHYSICAL PERFORMANCE

     I.     REVENUE:
            •        Total revenue increased from Rs.194,807.4 million in 2013-14 to Rs.206, 131 .6 million
                     (an increase of Rs.11,324.2 million) during 2014-15.
            •        Operating Revenue was Rs.198,017 .1 million as against previous year's revenue of
                     Rs.183,709.6 (increase of Rs.14,307.5 million)
            •        Passenger Revenue increased from Rs.141,507 .3 million last year to Rs.157,933.6
                     million (an increase of Rs.16,426.3 million).
                                              Revenue Breakdown 2014-15
                                                                   1.3%

                                                                                Net Surplus on
                                                                                Assets Sold or
                                                                                  Scrapped
                                                                                      2.2%

                                                                                         76.6%



                    •   Passenger                                         •   Revenue Sharing
                    •   Excess Baggage                                    •   Other Revenue
                    •   Mail                                              •   Interest Income
                    •   Freight                                           •   Charters, Lease & BSA
                    •   Reimbursement by Subsidiary Company                   Others


     II.    EXPENDITURE:
            •        The total expenditure incurred during the year was Rs.264,661 .8 million as compared to
                     the previous year's figure of Rs. 264,201.9 million (an increase of Rs.459.9 million)

            •        Operating expenses increased from Rs.223,488.5 million to Rs.224,370.0 million (an
                     increase of Rs.890.5 million)

                                             Expenditure Breakdown 2014-15
                                                                _,,,,--9.3%




                                                                                            31 .9%
                     3.4%,---tl..
                       4.1%
                           2.7%
                             0.2%
                          .   .
                • Fuel & Oil Aircraft 1.5%                                •   Traffic Handling
                •   lnsurace                                              •   Food Hotel Cabin Amenities
                •   StaffCost
                                                          4.1%
                                                                          •   Publicity & Sales Promotion
                    Non Opt. Exp.                                         •   Booking Agency Commission
                    Other Exp.                                            •   Material & Outside Repair
                •   Depreciation                                          •   Hire of Aircraft
                •   Communication                                         •   Landing, Parking Navigation

                                                          16
           Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 3 of 10

                                                                                         AIR INDIA

2.   MEASURES TO IMPROVE PERFORMANCE

     2.1    Plans to turnaround performance :
            The Company continued to take several initiatives to improve the performance of the
            Company including inter-alia

            •      Rationalization of certain loss making routes.
            •      Return of leased aircraft.
            •      Induction of brand new fleet on several domestic & international routes thereby
                   increasing passenger appeal.
            •      Phasing out old fleet and consequent reduction of maintenance cost.
            •      Reduction of contractual employment & outsourced agencies.
            •      Critical analysis of Fuel consumption on all flights by setting up a Fuel Council and
                   Fuel Manager.
            •      Implementation of the recommendations made by IATA Group of Fuel Efficiency Gap
                   Analysis (FEGA).
            •      Increase in passenger, cargo, excess baggage revenue through aggressive sales &
                   marketing strategy including a separate Cell for attracting Government traffic.
            •      Implementation of Quickwin IT Solutions including upgrade of Revenue Management
                   System, introduction of SAP-ERP throughout the network.
            •      Upgradation of FFP and Introduction of several marketing initiatives including
                   Companion Free Schemes, Apex fare, GOI packages, Preferred Agents Partnership,
                   Promotion of web bookings and other promotional schemes like Al Holidays, etc.
            •      Operationalisation of the two subsidiary companies formed for Ground Handling and
                   MRO activities.
            •      Implementation of the Financial Restructuring Plan and the Turnaround Plan to
                   improve the Financial and Operating efficiencies.

     2.2    Infusion of Additional Equity- Linked to the Turnaround Plan of the Company
            The Government infused Equity Capital of Rs.57,800 Million during 2014-15. The paid up
            capital as on 31 March 2015 is Rs.171, 780 Million (Rs.29,4 70 Million of Share Application
            Money Pending Allotment). During the year 2015-16 Air India had sought an Equity Infusion of
            Rs.42,770 Million against which the Government had initially approved an amount of Rs.25,000
            Million. However, in the First Supplementary Grants for 2015-16, the Government has
            approved a further amount of Rs.8,000 Million to be infused as Equity Infusion thus leaving a
            balance of Rs.9,770 Million as at the end of 2015-16.

     2.3    Going Concern

           In order to improve operational and financial performance, the Company had formulated a
           Turn Around Plan (TAP) which entailed both operational and financial turnaround of the
           Company. Based on the assumptions on TAP, a Financial Restructuring Plan (FRP) was
           prepared and implemented effective 1 October 2011 which envisaged aligning of the debt
           repayments of the Company in line with the projected Cash Flows.




                                                   17
      Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 4 of 10

                                                                                    AIR INDIA

      Due to the support of GOI as well as the various measures taken by the Company towards
      improving operating and financial position, it is expected that the financial condition of the
      Company would continue to improve in the future. With the recent steep fall in fuel prices in
      Financial Year 2015-16 and softening of interest rates, it is expected that the Company would
      become operationally profitable and a operating profit of Rs 60.0 Million has been projected in
      the Financial Year 2015-16. However, Exchange rate continues to be a worrying factor.
      Barring unforeseen circumstances, the Company hopes to return to Cash Positive status
      earlier than contemplated under the TAP. Accordingly, the Accounts are prepared by the
      Management on the Going Concern Basis.

2.4   Product Development

      a)     Premier Clubs

             The Flying Returns Programme has four levels of membership viz. Base, The Silver
             Edge Club, The Golden Edge Club and the Maharajah Club :

             The Maharajah Club (TMC)

             The Maharajah Club is the highest Tier in the Flying Returns Programme.
             Membership of this Club is on the basis of earning 75,000 miles in a span of twelve
             months. Members may also be invited to join the Club on the basis of their status.
             Membership of the Club entitles members to enhanced privileges which are:
             Bonus mileage points, additional baggage allowance, priority check-in, priority
             confirmation from the waitlist and lounge access, etc.
             The membership base as on 30 September 2015 was 1561 .

             Golden Edge Club (GEC)
             The Golden Edge Club is the second highest Tier in the Flying Returns Programme.
             Membership of this Club is on the basis of earning 50,000 miles in a span of twelve
             months. Members may also be invited to join the Club on the basis of their status.
             Membership of the Club entitles members to enhanced privileges which are :
             Bonus mileage points, additional baggage allowance, priority check-in, priority
             confirmation from the waitlist and lounge access at select airports, etc.
             The membership base as on 30 September 2015 was 3850.

             Silver Edge Club (SEC)
             The Silver Edge Club is the third highest Tier in the Flying Returns Programme.
             Membership of this Club is on the basis of earning 25,000 miles in a span of twelve
             months. Members may also be invited to join the Club on the basis of their status.
             Membership of the Club entitles members to enhanced privileges which are :
             Bonus mileage points, additional baggage allowance and priority check-in.
             The membership base as on 30 September 2015 was 14101.




                                              18
              Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 5 of 10

                                                                                                AIR INDIA

NOTES FORMING PART OF THE FINANCIAL STATEMENTS FOR THE YEAR ENDED MARCH 31, 2015

NOTE "1"

A.    CORPORATE INFORMATION

      Air India Ltd represents the merged company which came into existence consequent upon the
      amalgamation of erstwhile Indian Airlines Ltd and erstwhile Air India Ltd as on 1st April 2007. The
      amalgamated company was known as National Aviation Company of India Limited (NACIL). The name
      of the company was changed to "Air India Ltd." w.e.f 24/11/2010. The company provides domestic and
      international air transport services within India as also across the globe. The aircraft fleet of the
      company consists of a wide range of aircraft mainly comprising of Airbus and Boeing aircraft such as A-
      319, A-320, A-321, B-747, B-777 and B-787. The Airline Industry has generally been affected by
      economic slowdown coupled with high fuel cost. The company has during the financial year 2011-12
      adopted/ implemented a Turnaround Plan (TAP) and a Financial Restructuring Plan (FRP) to improve
      its operational and financial performance.

8.   ACCOUNTING CONVENTION

      (i)      These Financial Statements have been prepared on going concern concept on accrual basis
               (except as specifically stated) under historical cost convention, and are in compliance with
               generally accepted accounting principles and the Accounting Standards notified under the
               Section 133 of the Companies Act 2013 read with Rule 7 of the Companies (Accounts) Rules
               2014.

      (ii)     The preparation of financial statements in conformity with generally accepted accounting
               principles in India requires management to make estimates and assumptions that affect the
               reported amounts of assets and liabilities and disclosures of contingent liabilities at the date of
               the financial statements and the reported amounts of revenue and expenses during the
               reporting period. Differences between the actual results and estimates are recognized in the
               period in which results are known/ materialized.

      (iii)    The Company being in service sector, there is no specific operating cycle; 12 months period has
               been adopted as "the Operating Cycle" in-terms of the provisions of Schedule Ill to the
               Companies Act 2013.

C.   SIGNIFICANT ACCOUNTING POLICIES

1.    FIXED ASSETS

      (i)      a)     Fixed Assets are stated at cost including incidental costs incurred pertaining to the
                      acquisition and bringing them to the location for use and interest on loans borrowed
                      where applicable, upto the date of putting the concerned asset to use.

               b)     Aircraft Rotables/Repairables, are shown as fixed assets.

      (ii)     Expenditure on major modernization /modification /conversion of aircraft,engines resulting in
               increased efficiency/economic life, is capitalized .

      (iii)    Assets under leases, in respect of which substantially all the risks and rewards of ownership are
               transferred to the Company, are considered as Finance Leases and are capitalized .




                                                        111
              Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 6 of 10

                                                                                                  AIR INDIA

NOTE "2" : SHARE CAPITAL
                                                                                              (Rupees in Million)
       Particulars                                                        As at March 31, 2015 As at March 31, 2014

A.     AUTHORISED
       25,000.0 Million Equity Shares of Rs.10 each                               250,000.0            200,000.0
       (Previous Year : 20,000.0 Million Equity Shares of Rs.10 each)



                                                                                  250,000.0            200 ,000.0

B.     ISSUED, SUBSCRIBED AND FULLY PAID-UP SHARES
       17, 178.0 Million Equity Shares of Rs. 10 each                             171,780.0            143,450.0
       (Previous Year : 14,345.0 Million Equity Shares of Rs.10 each)

                                                                TOTAL             171,780.0            143,450.0

B.i) Reconciliation of number of shares :
                                               (Number of Shares in Millions)    (Share Value Rupees in Millions)
       Particulars                                   2014-15        2013-14            2014-15           2013-14
       Equity Shares at the beginning of the year    14,345.0        9,345.0          143,450.0          93,450.0
       Add : Equity Shares Allotted during the        2,833.0        5,000 .0          28,330.0          50,000.0
       year
       Equity Shares at the end of the year          17,178.0      14,345.0           171,780.0         143,450.0


ii)    Term/rights attached to equity shares

       The company has single class of shares i.e. Equity Shares having a par value of Rs. 10 per share. Each
       holder of equity shares is entitled to one vote per share.

       In the event of liquidation of the company, the holders of equity shares will be entitled to receive
       remaining assets of the company, after distribution of all preferential amounts. The distribution will be in
       proportion to the number of equity shares held by the shareholders.

iii)   Share Holding Pattern :

       The Company is a Government Company with 100% share held by President of India and his nominees,
       through administrative control of Ministry of Civil Aviation .


 C.    Share Application Money: Share application money pending allotment amounting to Rs.39,470.0
       Million (Previous Year: Rs.10,000.0 Million) represents money paid by the Government of India towards
       capital infusion during 2014-15 but allotment of shares not yet decided .




                                                          117
               Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 7 of 10

                                                                                                 AIR INDIA

NOTE "3" : RESERVES AND SURPLUS
                                                                                              (Rupees in Million)
       Particulars                                                     As at March 31, 2015 As at March 31, 2014

    1. CAPITAL RESERVE
       Balance as per Last Balance Sheet                                           1,760.3               1,202.6
       Add : Additions during the year                                             4,924.7                 577.9
       Add : Transfer of Capital Reserve from Vayudoot Ltd .                              -                 35.5
       Less : Transfer to the Statement of Profit and Loss to offset                 199.6                  55.7
              Depreciation (Refer Note 20)

       Closing Balance                                                             6,485.4               1,760.3
    2. GENERAL RESERVE
       Balance as per Last Balance Sheet                                          (1,436.7)                    -
       Add : Additions during the year                                                    -            (1,436.7)

       Closing Balance                                                            (1,436.7)            (1,436.7)

    3. OTHER RESERVES
     a) Foreign Currency Monetary Item Translation
        Difference Account (FCMITDA)
       Balance as per last Balance Sheet                                          (3,401.9)              (588.1)
       Exchange gain/(loss) during the year                                        (297.4)             (3,018.6)
       Amortisation during the year                                                  234.3                204.8

       Closing Balance                                                            (3,465.0)            (3,401.9)

    4. Surplus / (Deficit)
       Balance as per last financial statements                                (316,837.6)          (254,041.6)
       Adjustment in Depreciation as per Schedule II *                               (3.7)                     -
       Loss for the year                                                        (58,599.1)            (62,796.0)

       Net deficit                                                             (375,440.4)          (316,837.6)

                                                TOTAL (1+2+3+4)                (373,856.7)          (319,915.9)


*        Represents amount recognised in the opening balance of retained earnings where the
         remaining useful life of an asset is nil.




                                                         118
                  Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 8 of 10

                                                                                                             AIR INDIA

NOTE "4" : LONG TERM BORROWINGS
                                                                                                      (Rupees in Million)
                                                                 Non-Current                            Current
        Particulars                                          Asat             As at             Asat              As at
                                                         March 31, 2015   March 31 , 2014   March 31, 2015    March 31 , 2014


   I         Debentures                                   136,000.0        136,000.0                    -                  -
  II         Term Loans*
             a) from Banks (Secured)                      122,265.0        124,505.0            2,527.6            1,260.1
             b) from Banks (Unsecured)                      5,379.9          4,138.0              167.9                    -
             c) from Other Parties (Unsecured)                230.5            230.4                9.9                 9.5
  Ill        Long Term Maturities of Finance               87,575.6         98,664.7          15,345.9          21 ,592.7
             Lease Obligations *

                                             TOTAL        351,451.0        363,538.1          18,051.3          22,862.3

4(1) Debentures
        a) 136,000 Redeemable, Unsecured Non-convertible Debentures of face value of Rs.1 Million each
           (Previous Year: 136,000 Debentures), are guaranteed by Government of India. Maturity Profile
           and Rate of interest are as set out below :
                                   (Rupees in Million)
               Month of           Amount to be             Rate of Interest
              Redemption           Redeemed

              Dec-2031                  4,714.0                   9.08%
              Nov-2031                 10,086.0                   9.08%
              Sep-2031                 15,000.0                   10.05%
              Dec-2030                  4,714.0                   9.08%
              Nov-2030                 10,086.0                   9.08%
              Dec-2029                  4,714.0                   9.08%
              Nov-2029                 10,086.0                   9.08%
              Dec-2028                  4,714.0                   9.08%
              Nov-2028                 10,086.0                   9.08%
              Dec-2027                  4,714.0                   9.08%
              Nov-2027                 10,086.0                   9.08%
              Sep-2026                 40,000.0                   9.84%
              Mar-2020                  7,000.0                   9.13%
                      Total          136,000.0

        b)    Debenture Redemption Reserve as required under Section 71 (4) of the Companies Act, 2013 has
              not been created in the absence of earning profits by the Company.




                                                          119
               Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 9 of 10

                                                                                               AIR INDIA

4(11a)   Details of Secured Term Loans from Banks are as under:
                                                                                    (Rupees in Millions)

            SRNO           Restructuring Lender           As at 31.03.2015       As at 31.03.2014

              1        Allahabad Bank                                2,871.9               2,901.0
              2        Andhra Bank                                   3,458.2               3,491.9
              3        Bank of Baroda                               12,924.1              13,056.4
              4        Bank of India                                16,556.6              16,407.7
              5        Canara Bank                                   8,439.3               8,524.9
              6        Central Bank of India                         9,191.6               9,313.8
              7        Corporation Bank                              7,477.8               7,551 .5
              8        Dena Bank                                     1,340.3               1,365.4
              9        The Federal Bank Limited                      1,994.7               1,958.3
              10       IDBI Bank Limited                             4,308.0               4,352.1
              11       Indian Bank                                   4,302.4               4,346.2
              12       Indian Overseas Bank                          7,064.1               7,128.1
              13       Oriental Bank of Commerce                     8,781.5               8,874.6
              14       Punjab National Bank                         12,103.8              12,258.5
              15       Punjab & Sind Bank                            2,726.7               2,754.6
              16       State Bank of India                           6,596.8               6,664.1
              17       Syndicate Bank                                6,312.4               6,395.4
              18       UCO Bank                                      5,744.3               5,802.1
              19       United Bank of India                          2,598.1               2,618.5
                       TOTAL                                       124,792.6              125,765.1

         For all Secured Term Loans from Banks, interest rate is linked to respective Bank's Prime Lending Rate
         I Base Rate I Libor plus Margin . These loans are repayable in Quarterly Instalments starting from 31st
         December 2013 and-ending in 30th September 2026-:- Disclosure as regards amount of repayment
         instalment and rate of interest are not made due to complexity of repayment schedules and
         confidentility clause with the banks as regards interest rate.

         All Term Loans from above Banks are secured by following 29 aircrafts and 12 immovable properties at
         market value and all Current Assets (Previous Year 29 aircrafts, 12 immovable properties and all
         Current Assets). However equitable mortgage for 7 immovable properties with banks are yet to be
         created.

4(11b) Total Unsecured Term Loan from Banks of Rs.5,547.8 Million (Previous Year Rs.4,138.0 Million) has
       been guaranteed by the Government of India to the full extent.
                                                                                            (Rupees in Million)
          Equal Number          Amount of            Rate of Interest          Starting         Month of
             of Loan            Loan as at                                     Month of          Maturity
           Instalments       'March 31, 2015                               Repayment

               22                 1,231.2           Libor + 2.15           Mar-2015             Mar-2021
                1                 4,316.6           Libor + 1.45 /2.5      Jul/Sep-2011         Sep-2016



                                                        120
              Case 1:21-cv-04375-PGG Document 1-64 Filed 05/14/21 Page 10 of 10

                                                                                             AIR INDIA

4(11c)   Unsecured Term Loan from Others of Rs.240.4 Million (Previous Year Rs.239.9 Million) are
         guaranteed by the Government of India to the full extent.
                                                                                         (Rupees in Million)
          Equal Number          Amount of            Rate of Interest        Starting          Month of
             of Loan            Loan as at                                  Month of           Maturity
           Instalments        'March 31, 2015                              Repayment

                50                 165.4              Interest Free         Oct-1990           Oct-2039

                44                  75.0              Interest Free         Oct-1987           Mar-2037


4(111)   Long Term Maturities of Finance Lease Obligations of Rs.102,921.5 Million (Previous Year
         Rs.120,257.4 Million) are guaranteed by the Government of India to the extent of Rs.82,471 .0 Million
         (Previous Year Rs.97,267.5 Million)
                                                                                          (Rupees in Million)

          Number of           Amount of           Rate of Interest          Starting           Month of
           Equated              Loan                                       Month of            Maturity
             Loan               as at                                     Repayment
          Instalments       March 31, 2015

              58                16,007.3          Libor + 0.24             Aug-2011            Jul-2022

              78                31,588.0          Libor + 0.93             Mar-2010            Sep-2021

              24                21,375.6          Libor + 0.75             Feb-2008            Feb-2021

              41                 7,047.9          Libor - 0.05+0.55        Jan-2009            May-2020

              57                11,102.8          2.46% to 2.89%           Oct-2007            Dec-2019

              19                15,799.9          Libor + 0.75             Mar-2007            Dec-2019


*        Current maturities of long term borrowings have been grouped under the head Other Current Liabilities
         (Refer Note No.5)




                                                       121
